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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                        CR-12-08-GF-BMM-01

                 Plaintiff,
                                              ORDER ADOPTING MAGISTRATE
       vs.                                        JUDGE’S FINDINGS AND
                                              RECOMMENDATIONS TO REVOKE
 JENNIFER RAE COBELL,                        DEFENDANT’S SUPERVISED RELEASE

                 Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on April 27, 2016. (Doc. 187.) Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 149-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on April 25, 2016. (Doc.

182.) Cobell admitted that she violated the conditions of her supervised release.

The violations prove serious and warrant revocation of Cobell’s supervised release.
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Judge Johnston recommends that the Court revoke Cobell’s supervised release.

Judge Johnston also recommends that the Court sentence Cobell to ten months of

imprisonment with no supervised release to follow. (Doc. 187 at 6.)

      Cobell’s violation qualifies as a grade B violation. She has a criminal history

category of III. Cobell’s underlying offense qualifies as a Class C felony. Cobell

could be incarcerated for up to 24 months. Cobell could be ordered to remain on

supervised release for up to 36 months, less any custody time imposed. The United

States Sentencing Guideline calls for eight to 14 months of custody time.

      The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Cobell’s violation of her conditions of supervised release

represent a serious breach of the Court’s trust. A sentence of 10 months of custody

and no supervised release to follow represents a sufficient, but not greater than

necessary, sentence.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 187) is ADOPTED IN FULL.




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      IT IS FURTHER ORDERED that Defendant Jennifer Rae Cobell shall be

sentenced to ten months imprisonment with credit for time served. The Court

orders no supervised release to follow Cobell’s term of imprisonment.

      DATED this 12th day of May, 2016.




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